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     Attorney(s) for Plaintiff Rothschild Broadcast Distribution Systems, LLC
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 7
                        IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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      ROTHSCHILD BROADCAST                                  CASE NO.: 3:20-cv-03333
      DISTRIBUTION SYSTEMS, LLC,
11
                             Plaintiff,                     COMPLAINT FOR PATENT
12                                                          INFRINGEMENT
      v.
13
      UBISOFT, INC.,                                        JURY TRIAL DEMANDED
14

15                           Defendant.

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17           Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or “Rothschild
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     Broadcast Distribution Systems”) files this complaint against Ubisoft, Inc. (“Ubisoft”) for
19
     infringement of U.S. Patent No. 8,856,221 (hereinafter the “`221 Patent”) and alleges as follows:
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21
                                                  PARTIES

22   1.      Plaintiff is a Texas limited liability company with an office at 1801 NE 123 Street, Suite 314,

23   Miami, FL 33181.
24
     2.      On information and belief, Defendant is a Delaware corporation, with a place of business at
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     625 3RD Street, San Francisco CA 94107. On information and belief, Defendant may be served with
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     process through its registered agent, Stephen Smith, Law Office of Stephen S. Smith, PC., 30700
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     Russell Rand Rd., Suite 250, Westlake Village, CA 91362.
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                                           PLAINTIFF’S COMPLAINT
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                                    JURISDICTION AND VENUE

 2   3.      This action arises under the patent laws of the United States, 35 U.S.C. § 271 et seq. Plaintiff
 3   is seeking damages, as well as attorney fees and costs.
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     4.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal Question) and
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     1338(a) (Patents).
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     5.      On information and belief, this Court has personal jurisdiction over Defendant because
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     Defendant has committed, and continues to commit, acts of infringement in this District, has

 9   conducted business in this District, and/or has engaged in continuous and systematic activities in this

10   District.
11
     6.      Upon information and belief, Defendant’s instrumentalities that are alleged herein to infringe
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     were and continue to be used, imported, offered for sale, and/or sold in the District.
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     7.      Venue is proper in this District under 28 U.S.C. §1400(b) because Defendant is deemed to be
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     a resident in this District.
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16                                            BACKGROUND
17   8.      On October 7, 2014, the United States Patent and Trademark Office (“USPTO”) duly and
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     legally issued the `221 Patent, entitled “System and Method for Storing Broadcast Content in a Cloud-
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     Based Computing Environment” after the USPTO completed a full and fair examination. The ‘221
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     Patent is attached as Exhibit A.
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22
     9.      Rothschild Broadcast Distribution Systems is currently the owner of the `221 Patent.

23   10.     Rothschild Broadcast Distribution Systems possesses all rights of recovery under the `221

24   Patent, including the exclusive right to recover for past, present and future infringement.
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     11.     The `221 Patent contains thirteen claims including two independent claims (claims 1 and 7)
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     and eleven dependent claims.
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 1                                         COUNT ONE
 2
                         (Infringement of United States Patent No. 8,856,221)

 3   12.       Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 11, the same as if set forth
 4   herein.
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     13.       This cause of action arises under the patent laws of the United States and, in particular under
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     35 U.S.C. §§ 271, et seq.
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     14.       Defendant has knowledge of its infringement of the `221 Patent, at least as of the service of
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 9
     the present complaint.

10   15.       Upon information and belief, Defendant has infringed and continues to infringe one or more

11   claims, including at least Claim 7, of the ‘221 Patent by making, using, importing, selling, and/or
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     offering for media content storage and delivery systems and services covered by one or more claims
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     of the ‘221 Patent.
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     16.       Accordingly, Defendant has infringed, and continues to infringe, the `221 Patent in violation
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     of 35 U.S.C. § 271.
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17   17.       Defendant sells, offers to sell, and/or uses media content storage and delivery systems and

18   services, including, without limitation, the Uplay+ streaming platform, and any similar products

19   (“Product”), which infringes at least Claim 7 of the ‘221 Patent.
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     18.       The Product practices a method of storing (e.g., cloud storage) media content (e.g. and
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     recorded music) and delivering requested media content to a consumer device. Certain aspects of these
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     elements are illustrated in the screenshots below and/or in those provided in connection with other
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     allegations herein.
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24   19.     The Product necessarily includes a receiver configured to receive a request message including
25   data indicating requested media content (e.g., the Product must have infrastructure to receive a request
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     to store recorded media content or to stream recorded media content on a smartphone; additionally,
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     the request message must contain data that identifies the content to be stored or streamed) and a
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                                            PLAINTIFF’S COMPLAINT
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     consumer device identifier corresponding to a consumer device (e.g., the user credentials are used to
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 2   access the contents of the Product). Certain aspects of these elements are illustrated in the screenshots

 3   below and/or in those provided in connection with other allegations herein.
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     20.     The at least one server necessarily determines whether the consumer device identifier
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     corresponds to the registered consumer device (e.g., a user must be a registered user to access the
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     Product’s services). Certain aspects of these elements are illustrated in the screenshots below and/or
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     in those provided in connection with other allegations herein.

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     21.     The Product provides for both media downloads and/or storage, and media streaming. After a
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     successful login, the Product necessarily determines whether the request received from a customer is
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20   a request for storage (e.g., recording or storing content) or content (e.g., streaming of media content).

21   Certain aspects of these elements are illustrated in the screenshots below and/or in those provided in

22   connection with other allegations herein.
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                                            PLAINTIFF’S COMPLAINT
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     22.     The Product verifies that media content identified in the media data of the storage request
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21   message (e.g., request to record content) is available for storage in order to prevent data errors that

22   would result from attempting to store content that is not available for storage. The Product must verify

23   that the media content (e.g. specific recording) identified in the media data of the storage request
24
     message is available for storage in order to prevent data errors that would result from attempting to
25
     store content that is not available for storage (e.g., the product must verify a user’s ability to store
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     video is limited to a certain amount of memory usage based upon their subscription; thus media
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     content may not be available for storage if a user is already above their memory limit or if the user
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                                            PLAINTIFF’S COMPLAINT
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     has not subscribed to any service). Certain aspects of these elements are illustrated in the screenshots
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 2   below and/or in those provided in connection with other allegations herein.

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15   23.     If a customer requests content (e.g., live streaming of media content), then a processor within
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     the Product necessarily initiates delivery of the content to the customer’s device. The server will
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     initiate delivery of the requested media content to the consumer device (e.g., stream media content
18
     feed to a smartphone or tablet or desktop computer) if the request message is a content request
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     message (e.g., request for live streaming). Certain aspects of these elements are illustrated in the

21   screen shots below and/or in screen shots provided in connection with other allegations herein.

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     24.     The media data time data that indicates a length of time to store the requested media content
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 9   (e.g. a user is allowed to store media content for maximum 30 days as based upon their subscription

10   level). Certain aspects of these elements are illustrated in the screenshots below and/or in those
11   provided in connection with other allegations herein.
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21   25.     The server must first determine whether the requested media content exists prior to initiating

22   delivery in order to prevent data errors that would result from attempting to transmit media content
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     that does not exist (e.g. the product must verify that a particular requested data is stored in the cloud).
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     Certain aspects of these elements are illustrated in the screenshots below and/or in those provided in
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     connection with other allegations herein.
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     26.    After the processor determines whether the requested media content is available, it determines
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     whether there are restrictions associated with the requested media content (e.g., subscription level
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     etc.). Certain aspects of these elements are illustrated in the screenshots provided in connection with
21
     other allegations herein.
22

23   27.      Defendant’s actions complained of herein will continue unless Defendant is enjoined by this

24   Court.
25   28.    Defendant’s actions complained of herein is causing irreparable harm and monetary damage to
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     Plaintiff and will continue to do so unless and until Defendant is enjoined and restrained by this Court.
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     29.      The `221 Patent is valid, enforceable, and was duly issued in full compliance with Title 35 of
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                                            PLAINTIFF’S COMPLAINT
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     the United States Code.
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 2   30.       A copy of the ‘221 Patent, titled “System and Method for Storing Broadcast Content in a

 3   Cloud-based Computing Environment,” is attached hereto as Exhibit A.
 4   31.     By engaging in the conduct described herein, Defendant has injured Plaintiff and is liable for
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     infringement of the `221 Patent, pursuant to 35 U.S.C. § 271.
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     32. Defendant has committed these acts of literal infringement, or infringement under the doctrine
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     of equivalents of the `221 Patent, without license or authorization.
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     33.      As a result of Defendant’s infringement of the `221 Patent, injured Plaintiff has suffered
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10   monetary damages and is entitled to a monetary judgment in an amount adequate to compensate for

11   Defendant’s past infringement, together with interests and costs.
12   34.    Plaintiff is in compliance with 35 U.S.C. § 287.
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     35.     As such, Plaintiff is entitled to compensation for any continuing and/or future infringement of
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     the `221 Patent up until the date that Defendant ceases its infringing activities.
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16
                                      DEMAND FOR JURY TRIAL

17   36.      Rothschild Broadcast Distribution Systems, under Rule 38 of the Federal Rules of Civil

18   Procedure, requests a trial by jury of any issues so triable by right.
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                                          PRAYER FOR RELIEF
20
     WHEREFORE, Plaintiff asks the Court to:
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     (a)    Enter judgment for Plaintiff on this Complaint on all cases of action asserted herein;

23   (b) Enter an Order enjoining Defendant, its agents, officers, servants, employees, attorneys, and all

24   persons in active concert or participation with Defendant who receives notice of the order from further
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     infringement of United States Patent No. 8,856,221 (or, in the alternative, awarding Plaintiff running
26
     royalty from the time judgment going forward);
27
     (c) Award Plaintiff damages resulting from Defendants infringement in accordance with 35 U.S.C. §
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                                             PLAINTIFF’S COMPLAINT
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     284; and
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 2   (d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled under law or equity.

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 4   Dated: May 15, 2020                           Respectfully submitted,
 5
                                                   /s/ Stephen M. Lobbin
 6                                                 Stephen M. Lobbin
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11
                                                   Attorney(s) for Plaintiff Rothschild Broadcast
                                                   Distribution Systems, LLC
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